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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG. WILKINSON

MOTION FOR EXPEDITED HEARING

Defendant, GOTECH, Inec., (GOTECH) respectfully moves this Court for an expedited

hearing on its Motion for Summary Judgment for the following reasons:
1

GOTECH was served in Civil Action No. 05-6073 (Kirsch) in July, 2006 and was served

in Civil Action No. 05-4181 (O’ Dwyer) on July 27, 2006.
IL.

GOTECH provided engineering and surveying services relevant to this litigation on the
London Avenue Canal project and then only as a subconsultant to Burk-Kleinpeter, Inc. (BKI),
which was made a party to this litigation by earlier pleadings.

HI.

On June 1, 2006, BKI (and other engineering defendants) filed a “Rule 12(b)(6) Joint
Motion and Rule 56 Joint Motion for Summary Judgment on the Affirmative Defense of
Peremption to Dismiss the Levee and MRGO Groups of Plaintiffs’ Complaints on Behalf of Eustis
Engineering Company, Inc., Burk-Kleinpeter, Inc. and Modjeski and Masters, Inc.” [Doc. 463] (the

“Engineers” Joint Motion”).

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IV.

GOTECH is now filing a Motion for Summary Judgment relying on the same grounds as
the Engineers’ Joint Motion. GOTECH has specifically adopted the Motion, Memoranda and
Exhibits offered by BKI in its Motion.

V.

The Engineers’ Joint Motion is now scheduled for hearing on August 25, 2006 before This
Honorable Court, as scheduled in the July 14, 2006 Status Conference and Minute Entry of that
conference [Doc. 798].

VI.

The Motion for Summary Judgment of GOTECH will involve the same facts, evidence and
legal arguments as the Engineers’ Joint Motion.

WHEREFORE, GOTECH, Inc. prays that its Motion for Summary Judgment be set for
hearing on August 25, 2006, along with the Engineers’ Joint Motion.

By attorneys:

LONG LAW FIRM, L.L.P.

bbw ML.

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CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail.

Baton Rouge, Louisiang} thi¢ 3" day WW bes

° ADRIAN G. NADEAU

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